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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


PARS EQUALITY CENTER,                                   Civil Action No. 1:17-cv-255
IRANIAN AMERICAN BAR ASSOCIATION,
PUBLIC AFFAIRS ALLIANCE OF IRANIAN                      Hon. Tanya S. Chutkan
AMERICANS, INC., et al.,

                Plaintiffs,

                v.

DONALD J. TRUMP et al.,

                Defendants.


               PLAINTIFFS’ SUPPLEMENTAL SUBMISSION IN SUPPORT
                    OF PROPOSED PRELIMINARY INJUNCTION

         Since the Court heard oral argument on Plaintiffs’ Motion for Preliminary Injunction on

November 2, 2017, there have been several developments that further support expeditious entry

of the requested injunction.

         1. On December 4, 2017, the Supreme Court granted the Government’s applications to

stay the preliminary injunctions entered by the District of Maryland and District of Hawaii. Exs.

1 & 2.

         2. Nothing in the Supreme Court’s orders addresses the legality of President Trump’s

October 24, 2017 Executive Order, “Resuming the United States Refugee Admissions Program

with Enhanced Vetting Capabilities” (“October 24 Executive Order”), or the October 23, 2017

Memorandum to the President implementing the October 24 Executive Order (“October 23

Memorandum”) (collectively, “October Refugee Ban”). To Plaintiffs’ knowledge, no court has

ruled on the legality of the October Refugee Ban, which Plaintiffs seek to enjoin in their Third

Amended Complaint, ECF No. 123 (filed Nov. 3, 2017).
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       3. Nor do the Supreme Court’s orders preclude the entry of relief by this or any other

court regarding the legality of President Donald J. Trump’s September 24, 2017 Proclamation,

“Enhancing Vetting Capabilities and Processes for Detecting Attempted Entry into the United

States By Terrorists or other Public-Safety Threats” (“September 24 Proclamation”).

       4. The Supreme Court made clear in its orders that litigation is to proceed with

appropriate dispatch in the lower courts. See Exs. 1 & 2.

       5. As detailed in previous briefing and substantiated by live testimony and numerous,

detailed affidavits, Plaintiffs will experience irreparable harm if the Travel Ban goes into effect.

In particular, as alleged in the Third Amended Complaint (ECF No. 123), discussed in the

Motion for Preliminary Injunction (ECF No. 107-1), and the Supplemental Memorandum in

Support of the Motion for Preliminary Injunction (ECF No. 117):

   Mohammed Jahanfar and Jane Doe #1 will be unable to get married to their visa-seeking
    fiancés and live with them in the United States. ECF No. 107-1 Ex. 7. ¶ 50; Ex. 12 ¶ 33.

   Jane Doe #13 and her fiancé will either have to postpone their wedding plans or get married
    without her parents present because they cannot get a tourist visa. ECF No. 107-1, Ex. 14 ¶¶
    25-27.

   Mohammad Reza Shaeri will be separated from his wife indefinitely. ECF No. 107-1, Ex. 8
    ¶ 25.

   Montra Yazdani, Jane Doe #14, and Jane Doe #15 will be separated from their parents for
    extended periods of time and unable to spend regular time with them, rely on their help in
    raising families, or care for them as they age. ECF No. 107-1, Ex. 5 ¶¶ 12, 28; Ex. 15 ¶¶ 20-
    21; Ex. 16 ¶¶ 7-8.

   Jane Doe #4, an Iranian citizen who was granted asylum in the United States in 2016, and is
    unable to return to Iran due to feared religious persecution, will be unable to have her parents
    travel to the United States to visit. She will be separated from them indefinitely. ECF No.
    107-1, Ex. 13 ¶¶ 3, 17.

   Shiva Hissong, Sepideh Ghajar, John Doe #1, and John Doe #10 will be separated
    indefinitely from their close family members, who will be unable to travel to the United
    States to visit. ECF No. 107-1, Ex. 4 ¶ 29; Ex. 6. ¶ 20; Ex. 9 ¶ 15; Ex. 11 ¶ 48.

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   John Doe #1’s wife will be unable to apply for a work authorization. John Doe #1 and his
    wife will be unable to leave the country for fear their visas will not be renewed. ECF No.
    107-1, Ex. 9 ¶¶ 15-19.

   John Doe #9 will be unable to accept his job offer and fulfill his dream of living in the United
    States and creating a better life for himself and his family in this country. ECF No. 107-1,
    Ex. 10 ¶ 11.

   Reza Zoghi, an Iranian political dissident, will be unable to have his refugee application
    approved, notwithstanding the fact that he had been through the SAO and medical screening,
    medical orientation, has a U.S. sponsor, and was awaiting his travel documentation when the
    Travel Ban was announced. ECF No. 117 ¶ 5(a).

   Jane Doe #8, a lesbian refugee, and Jane Doe #9, a transgender refugee—both of whom fled
    Iran after being assaulted and discriminated against on the basis of their sexual orientation—
    will be unable to have their refugee applications approved, notwithstanding the fact that they
    were referred to the U.S. Refugee Assistance Program by the U.N. High Commission on
    Refugees. ECF. No. 117 ¶ 5(b), (c).

       6. The extensive factual record developed in this case will assist the D.C. Circuit and

Supreme Court in reviewing this matter of national importance.

       7. During oral argument on November 2, 2017, Government counsel discounted the

evidence of statements of anti-Muslim animus from the President, stating, that “whatever

statement they want to point to from the President can’t be enough to impugn this entire

process.” 11/2/17 Hr’g Tr. 65. Recent statements from the White House have confirmed the

anti-Muslim basis for the most recent Executive Order. In particular:

   On November 29, the President re-tweeted three anti-Muslim videos disseminated by an
    British far-right ultra-nationalist organization. See Ex. 3.

   When asked at a press conference later that day whether “President Trump thinks Muslims
    are a threat to the U.S.,” the White House spokesman explicitly tied the Travel Ban to an
    anti-Muslim aim, responding that “[t]he President has addressed these issues with the travel
    order that he issued earlier this year.” CBS News, White House Trump’s Muslim tweet by
    mentioning travel ban, Nov. 29, 2017. Ex. 4.




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                                         CONCLUSION

       For the foregoing reasons and those stated in Plaintiffs’ prior submissions, this Court

should proceed with appropriate dispatch to enter a preliminary injunction against the

discriminatory provisions of the September 24 Proclamation, as well as discriminatory

provisions of the October Refugee Ban.




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Dated: December 5, 2017                             Respectfully submitted,


                                                    /s/ John A. Freedman
Cyrus Mehri (D.C. Bar # 420970)                     John A. Freedman (D.C. Bar # 453075)
U.W. Clemon (D.D.C . Bar # AL0013)                  David P. Gersch (D.C. Bar # 367469)
Joanna K. Wasik (D.C. Bar # 1027916)                R. Stanton Jones (D.C. Bar # 987088)
MEHRI & SKALET, PLLC                                Nancy L. Perkins (D.C. Bar # 421574)
1250 Connecticut Ave., NW, Suite 300                Ronald A. Schechter (D.C. Bar # 245019)
Washington, DC 20036                                Robert N. Weiner (D.C. Bar # 298133)
(202) 822-5100                                      Samuel M. Witten (D.C. Bar # 378008)
(202) 822-4997 (fax)                                Sally L. Pei (D.C. Bar # 1030194)
cmehri@findjustice.com                              Sonia Tabriz (D.C. Bar # 1025020)
                                                    Stephen K. Wirth (D.C. Bar # 1034038)
Kristen Clarke (D.C. Bar # 973885)                  ARNOLD & PORTER
Jon Greenbaum (D.C. Bar # 489887)                     KAYE SCHOLER LLP
LAWYERS’ COMMITTEE FOR                              601 Massachusetts Ave., NW
  CIVIL RIGHTS UNDER LAW                            Washington, DC 20001
1401 New York Ave., NW, Suite 400                   (202) 942-5000
Washington, DC 20005                                (202) 942-5999 (fax)
(202) 662-8600                                      john.freedman@apks.com
(202) 783-0857 (fax)
jgreenbaum@lawyerscommittee.org                     Christopher M. Odell (pro hac vice)
                                                    ARNOLD & PORTER
Hassan Zavareei (D.C. Bar # 456161)                   KAYE SCHOLER LLP
TYCKO & ZAVAREEI LLP                                700 Louisiana Street, Suite 1600
1828 L Street, NW, Suite 1000                       Houston, TX 77002
Washington, DC 20036                                (713) 576-2400
(202) 973-0900                                      (713) 576-2499 (fax)
(202) 973-0950 (fax)                                christopher.odell@apks.com
hzavareei@tzlegal.com
                                                    Susan S. Hu (pro hac vice)
Adrienne D. Boyd (pro hac vice)                     ARNOLD & PORTER
ARNOLD & PORTER                                       KAYE SCHOLER LLP
  KAYE SCHOLER LLP                                  250 West 55th Street
370 Seventeenth Street, Suite 4400                  New York, NY 10019
Denver, CO 80202                                    (212) 836-8000
(303) 863-1000                                      (303) 836-8689 (fax)
(303) 832-0428 (fax)                                susan.hu@apks.com
adrienne.boyd@apks.com

                                      Counsel for Plaintiffs




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